                                            Case 16-20336               Doc 13         Filed 08/23/16              Page 1 of 27
  Fill in this information to identify your case and this filing:
  Debtor 1               Maria                       Andrea              Huerta
                         First Name                  Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: DISTRICT OF MARYLAND

  Case number            16-20336                                                                                                Check if this is an
  (if known)
                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
       ;    Yes. Where is the property?

1.1.                                                       What is the property?                           Do not deduct secured claims or exemptions. Put the
15804 Lautrec Court                                        Check all that apply.                           amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Street address, if available, or other description
                                                           ;   Single-family home
                                                               Duplex or multi-unit building               Current value of the            Current value of the
                                                               Condominium or cooperative                  entire property?                portion you own?
North Potomac                    MD       20878                Manufactured or mobile home                             $649,155.00                 $649,155.00
City                             State    ZIP Code             Land
                                                               Investment property                         Describe the nature of your ownership
                                                               Timeshare                                   interest (such as fee simple, tenancy by the
Montgomery County                                                                                          entireties, or a life estate), if known.
                                                               Other
County

                                                           Who has an interest in the property?
                                                                                                           Tenancy by Entirety
Residence                                                  Check one.
                                                               Debtor 1 only                                   Check if this is community property
                                                               Debtor 2 only                                   (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                           ;   At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here......................................................... Î           $649,155.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
       ;   Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                              page 1
                                       Case 16-20336                 Doc 13          Filed 08/23/16              Page 2 of 27
Debtor 1         Maria                 Andrea                  Huerta                              Case number (if known)        16-20336
                 First Name            Middle Name             Last Name

3.1.                                                  Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Honda                   Check one.                                         amount of any secured claims on Schedule D:
                                                                                                         Creditors Who Have Claims Secured by Property.
Model:                        Civic                   ;   Debtor 1 only
                                                          Debtor 2 only                           Current value of the                   Current value of the
Year:                         2013                                                                entire property?                       portion you own?
                                                          Debtor 1 and Debtor 2 only
Approximate mileage: 50,000                               At least one of the debtors and another             $8,803.00                             $8,803.00
Other information:
2013 Honda Civic (approx. 50000                           Check if this is community property
miles)                                                    (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

     ;     No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here......................................................... Î              $8,803.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                         Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
     ;     Yes. Describe..... Miscellaneous Tables and Chairs, Sofa, Beds, Dressers, Bookshelves and                                                $1,500.00
                                  other Furnishings
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games

     ;     No
           Yes. Describe.....

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
     ;     Yes. Describe..... Books and CDs                                                                                                           $100.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments

     ;     No
           Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment

     ;     No
           Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
     ;     Yes. Describe..... Work and casual clothes                                                                                                 $500.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver

     ;     No
           Yes. Describe.....


Official Form 106A/B                                                Schedule A/B: Property                                                               page 2
                                                 Case 16-20336                            Doc 13                Filed 08/23/16                        Page 3 of 27
Debtor 1         Maria                            Andrea                          Huerta                                          Case number (if known)                   16-20336
                 First Name                       Middle Name                     Last Name

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
      ;    Yes. Describe..... Cat                                                                                                                                                                    $0.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list

      ;    No
           Yes. Give specific
           information.............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here........................................................................................................                      Î                   $2,100.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition

      ;    No
           Yes.................................................................................................................................... Cash: ..........................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
      ;    Yes............................                    Institution name:

             17.1.      Checking account:                     Checking Account at SunTrust Bank                                                                                                 $1,578.12
             17.2.      Checking account:                     Checking Account at M&T Bank (contains only father's funds --
                                                              Debtor is listed holder b/c father resides in Chile)                                                                             $37,702.13
             17.3.      Checking account:                     Checking Account at Bank of America                                                                                               $4,054.50
             17.4.      Checking account:                     Checking Account at Capital One Bank                                                                                                  $10.00
             17.5.      Savings account:                      Savings account at SunTrust Bank                                                                                                  $2,589.42
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts

      ;    No
           Yes............................     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture

      ;    No
           Yes. Give specific
           information about
           them..........................      Name of entity:                                                                                         % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

      ;    No
           Yes. Give specific
           information about
           them..........................      Issuer name:




Official Form 106A/B                                                                     Schedule A/B: Property                                                                                       page 3
                                                Case 16-20336             Doc 13         Filed 08/23/16           Page 4 of 27
Debtor 1         Maria                          Andrea               Huerta                          Case number (if known)      16-20336
                 First Name                     Middle Name          Last Name

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
     ;     Yes. List each
           account separately.               Type of account:       Institution name:
                                             401(k) or similar plan: 403(b) Account Through Employer                                               $80,000.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

     ;     No
           Yes............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
    ; No
       Yes............................ Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

     ;     No
           Yes............................    Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit

     ;     No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

     ;     No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

     ;     No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
     ;     Yes. Give specific information Federal: 2015 Federal Tax Refund. Amt: $1,294.00                                     Federal:             $1,294.00
           about them, including whether
           you already filed the returns                                                                                       State:                 $442.00
                                                   State: 2015 State Tax Refund. Amt: $442.00
           and the tax years......................
                                                                                                                               Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

     ;     No
           Yes. Give specific information                                                                          Alimony:                              $0.00
                                                                                                                   Maintenance:                          $0.00
                                                                                                                   Support:                              $0.00
                                                                                                                   Divorce settlement:                   $0.00
                                                                                                                   Property settlement:                  $0.00


Official Form 106A/B                                                      Schedule A/B: Property                                                          page 4
                                            Case 16-20336                     Doc 13             Filed 08/23/16                  Page 5 of 27
Debtor 1         Maria                      Andrea                      Huerta                                   Case number (if known)            16-20336
                 First Name                 Middle Name                 Last Name

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else

      ;    No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

      ;    No
           Yes. Name the insurance
           company of each policy
           and list its value................    Company name:                                              Beneficiary:                               Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died

      ;    No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue

      ;    No
           Yes. Describe each claim........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims

      ;    No
           Yes. Describe each claim........

35. Any financial assets you did not already list

      ;    No
           Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here....................................................................................................... Î           $127,670.17


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
      ;    Yes. Go to line 38.

                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
38. Accounts receivable or commissions you already earned

      ;    No
           Yes. Describe..

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
           No
      ;    Yes. Describe.. Desk, printer, office chair                                                                                                                 $250.00

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

      ;    No
           Yes. Describe..




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 5
                                            Case 16-20336                     Doc 13             Filed 08/23/16                  Page 6 of 27
Debtor 1         Maria                      Andrea                      Huerta                                   Case number (if known)            16-20336
                 First Name                 Middle Name                 Last Name

41. Inventory

      ;    No
           Yes. Describe..

42. Interests in partnerships or joint ventures

      ;    No
           Yes. Describe..... Name of entity:                                                                                     % of ownership:

43. Customer lists, mailing lists, or other compilations

      ;    No
           Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   No
                   Yes. Describe.....

44. Any business-related property you did not already list

      ;    No
           Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here....................................................................................................... Î               $250.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

      ;    No. Go to Part 7.
           Yes. Go to line 47.


                                                                                                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish

      ;    No
           Yes....

48. Crops--either growing or harvested

      ;    No
           Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

      ;    No
           Yes....

50. Farm and fishing supplies, chemicals, and feed

      ;    No
           Yes....

51. Any farm- and commercial fishing-related property you did not already list

      ;    No
           Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here....................................................................................................... Î                  $0.00




Official Form 106A/B                                                         Schedule A/B: Property                                                                        page 6
                                                Case 16-20336                         Doc 13              Filed 08/23/16                      Page 7 of 27
Debtor 1          Maria                         Andrea                        Huerta                                        Case number (if known)                16-20336
                  First Name                    Middle Name                   Last Name


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

      ;     No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.............................................                                   Î                 $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.............................................................................................................................. Î          $649,155.00

56. Part 2: Total vehicles, line 5                                                                                   $8,803.00

57. Part 3: Total personal and household items, line 15                                                              $2,100.00

58. Part 4: Total financial assets, line 36                                                                      $127,670.17

59. Part 5: Total business-related property, line 45                                                                    $250.00

60. Part 6: Total farm- and fishing-related property, line 52                                                               $0.00

61. Part 7: Total other property not listed, line 54                                              +                         $0.00

                                                                                                                                          Copy personal
62. Total personal property.                  Add lines 56 through 61..................                          $138,823.17              property total         Î         +   $138,823.17


63. Total of all property on Schedule A/B.                         Add line 55 + line 62................................................................................       $787,978.17




Official Form 106A/B                                                                Schedule A/B: Property                                                                           page 7
                                   Case 16-20336                Doc 13        Filed 08/23/16             Page 8 of 27
 Fill in this information to identify your case:
 Debtor 1            Maria                Andrea                 Huerta
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND
                                                                                                                     Check if this is an
 Case number         16-20336                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.

     ;    You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $649,155.00        ;        $22,975.00          Md. Code Ann., Cts. & Jud. Proc. §
Residence                                                                         100% of fair market     11-504(f)(1)(ii)
                                                                                  value, up to any
Line from Schedule A/B:      1.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $1,500.00        ;         $1,000.00          Md. Code Ann., Cts. & Jud. Proc. §
Miscellaneous Tables and Chairs, Sofa,                                            100% of fair market     11-504(b)(4)
Beds, Dressers, Bookshelves and other                                             value, up to any
Furnishings                                                                       applicable statutory
(1st exemption claimed for this asset)                                            limit
Line from Schedule A/B: 6




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     ;    No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                                  Case 16-20336            Doc 13        Filed 08/23/16             Page 9 of 27
Debtor 1      Maria               Andrea               Huerta                        Case number (if known)    16-20336
              First Name          Middle Name          Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,500.00       ;         $500.00            Md. Code Ann., Cts. & Jud. Proc. §
Miscellaneous Tables and Chairs, Sofa,                                       100% of fair market     11-504(b)(5)
Beds, Dressers, Bookshelves and other                                        value, up to any
Furnishings                                                                  applicable statutory
(2nd exemption claimed for this asset)                                       limit
Line from Schedule A/B: 6

Brief description:                                       $100.00        ;         $100.00            Md. Code Ann., Cts. & Jud. Proc. §
Books and CDs                                                                100% of fair market     11-504(b)(5)
                                                                             value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00        ;         $500.00            Md. Code Ann., Cts. & Jud. Proc. §
Work and casual clothes                                                      100% of fair market     11-504(b)(5)
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,578.12       ;        $1,578.12           Md. Code Ann., Cts. & Jud. Proc. §
Checking Account at SunTrust Bank                                            100% of fair market     11-504(b)(5)
(1st exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                             limit

Brief description:                                      $1,578.12       ;          $0.00             Md. Code Ann., Cts. & Jud. Proc. §
Checking Account at SunTrust Bank                                            100% of fair market     11-504(f)(1)(i)
(2nd exemption claimed for this asset)                                       value, up to any
Line from Schedule A/B: 17.1                                                 applicable statutory
                                                                             limit

Brief description:                                      $4,054.50       ;        $4,054.50           Md. Code Ann., Cts. & Jud. Proc. §
Checking Account at Bank of America                                          100% of fair market     11-504(f)(1)(i)
                                                                             value, up to any
Line from Schedule A/B:    17.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $2,589.42       ;         $945.50            Md. Code Ann., Cts. & Jud. Proc. §
Savings account at SunTrust Bank                                             100% of fair market     11-504(f)(1)(i)
                                                                             value, up to any
Line from Schedule A/B:    17.5
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $10.00         ;          $0.00             Md. Code Ann., Cts. & Jud. Proc. §
Checking Account at Capital One Bank                                         100% of fair market     11-504(f)(1)(i)
                                                                             value, up to any
Line from Schedule A/B:    17.4
                                                                             applicable statutory
                                                                             limit

Brief description:                                     $80,000.00       ;       $80,000.00           Md. Code Ann., Cts. & Jud. Proc. §
403(b) Account Through Employer                                              100% of fair market     11-504(h)
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                          page 2
                                Case 16-20336              Doc 13       Filed 08/23/16              Page 10 of 27
Debtor 1      Maria              Andrea                Huerta                        Case number (if known)    16-20336
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $1,294.00       ;          $0.00             Md. Code Ann., Cts. & Jud. Proc. §
2015 Federal Tax Refund                                                      100% of fair market     11-504(f)(1)(i)
                                                                             value, up to any
Line from Schedule A/B:    28
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $442.00        ;          $0.00             Md. Code Ann., Cts. & Jud. Proc. §
2015 State Tax Refund                                                        100% of fair market     11-504(f)(1)(i)
                                                                             value, up to any
Line from Schedule A/B:    28
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00        ;         $250.00            Md. Code Ann., Cts. & Jud. Proc. §
Desk, printer, office chair                                                  100% of fair market     11-504(b)(5)
                                                                             value, up to any
Line from Schedule A/B:    39
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                          page 3
                                      Case 16-20336              Doc 13            Filed 08/23/16         Page 11 of 27
  Fill in this information to identify your case:
  Debtor 1             Maria                 Andrea                 Huerta
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: DISTRICT OF MARYLAND

  Case number          16-20336                                                                                        Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        ;    Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $13,645.00                $8,803.00           $4,842.00
American Honda Financial                         2013 Honda Civic (approx.
Creditor's name
13856 Ballantyne Corp                            50000 miles)
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Charlotte                NC      28277               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
   Debtor 2 only                           ; An agreement you made (such as mortgage or secured car loan)
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                           ; Other (including a right to offset)
       Check if this claim relates                   Car loan
       to a community debt
Date debt was incurred           10/11/14        Last 4 digits of account number        8     3    2    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $13,645.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
                                     Case 16-20336             Doc 13        Filed 08/23/16             Page 12 of 27
Debtor 1        Maria                 Andrea              Huerta                           Case number (if known)      16-20336
                First Name            Middle Name         Last Name


                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                           $479,131.00             $649,155.00
CIT Bank, NA                                   Residence
Creditor's name
f/k/a OneWest Bank
Number      Street
6900 Beatrice Drive
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Kalamazoo               MI      49009-9559         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                           ; Other (including a right to offset)
       Check if this claim relates                  1st Mortgage
       to a community debt
Date debt was incurred                         Last 4 digits of account number

  2.3                                          Describe the property that
                                               secures the claim:                              $1,000.00            $649,155.00
Waters House Condominium Council
Creditor's name
                                               Residence
c/o Affiliated Property Mgmt, Inc.
Number      Street
PO Box 8205
                                               As of the date you file, the claim is: Check all that apply.
                                               ; Contingent
Gaithersburg            MD      20898              Unliquidated
City                    State   ZIP Code
                                               ; Disputed
Who owes the debt? Check one.             Nature of lien. Check all that apply.
   Debtor 1 only
                                             An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                             Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                          ; Judgment lien from a lawsuit
; At least one of the debtors and another ; Other (including a right to offset)
       Check if this claim relates                  Judgment
       to a community debt
Date debt was incurred                         Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $480,131.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $493,776.00

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
                                   Case 16-20336               Doc 13         Filed 08/23/16            Page 13 of 27
 Fill in this information to identify your case:
 Debtor 1           Maria                  Andrea                 Huerta
                    First Name             Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number        16-20336                                                                                          Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?

     ;    No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1
                                        Case 16-20336             Doc 13          Filed 08/23/16              Page 14 of 27
Debtor 1       Maria                    Andrea                Huerta                            Case number (if known)      16-20336
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
       ;    Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                              $98.00
Synchrony Bank/GAP Card                                     Last 4 digits of account number         8     6    8    6
Nonpriority Creditor's Name
                                                            When was the debt incurred?           10/2011
PO Box 960061
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Orlando                         FL       32896
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
       Check if this claim is for a community debt
                                                            ; Other. Specify
                                                                 Credit Card
Is the claim subject to offset?
; No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
                                       Case 16-20336               Doc 13     Filed 08/23/16             Page 15 of 27
Debtor 1       Maria                    Andrea                  Huerta                     Case number (if known)        16-20336
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                      $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                      $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                      $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                  $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                      $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                      $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                      $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                      $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +                 $98.00


                    6j.     Total.   Add lines 6f through 6i.                                            6j.                     $98.00




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                       page 3
                                  Case 16-20336               Doc 13         Filed 08/23/16            Page 16 of 27
 Fill in this information to identify your case:
 Debtor 1            Maria                Andrea                 Huerta
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number         16-20336                                                                                       Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?

     ;    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

         Person or company with whom you have the contract or lease                  State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                                          Case 16-20336               Doc 13           Filed 08/23/16         Page 17 of 27
 Fill in this information to identify your case:
 Debtor 1               Maria                  Andrea                      Huerta
                        First Name             Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                Middle Name                 Last Name


 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number            16-20336                                                                                              Check if this is an
 (if known)
                                                                                                                              amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.    Do you have any codebtors?            (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      ; Yes
2.    Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
      include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
            No. Go to line 3.
      ;     Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
            ; Yes
                 In which community state or territory did you live?                              Fill in the name and current address of that person.

                 Zarko Alfonso Retamal
                 Name of your spouse, former spouse, or legal equivalent
                 15804 Lautrec Court
                 Number          Street


                 North Potomac                                   MD              20878
                 City                                            State           ZIP Code

3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
      person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
      creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
      Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

          Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                   Check all schedules that apply:

3.1       Zarko Alfonso Retamal
          Name                                                                                     ;     Schedule D, line        2.3
                                                                                                         Schedule E/F, line
          Number        Street
                                                                                                         Schedule G, line
                                                                                                   Waters House Condominium Council
          City                                           State             ZIP Code




Official Form 106H                                                Schedule H: Your Codebtors                                                             page 1
                               Case 16-20336            Doc 13        Filed 08/23/16         Page 18 of 27
Debtor 1      Maria            Andrea                Huerta                    Case number (if known)       16-20336
              First Name       Middle Name           Last Name


               Additional Page to List More Codebtors

       Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt

                                                                                   Check all schedules that apply:

3.2    Zarko Alfonso Retamal
       Name                                                                        ;   Schedule D, line      2.2
                                                                                       Schedule E/F, line
       Number         Street
                                                                                       Schedule G, line
                                                                                   CIT Bank, NA
       City                                  State         ZIP Code


3.3    Retamal, Zarko Alfonso
       Name                                                                        ;   Schedule D, line      2.3
       15804 Lautrec Court                                                             Schedule E/F, line
       Number         Street
                                                                                       Schedule G, line

       North Potomac                         MD            20878                   Waters House Condominium Council
       City                                  State         ZIP Code




Official Form 106H                                    Schedule H: Your Codebtors                                              page 2
                                     Case 16-20336            Doc 13           Filed 08/23/16                   Page 19 of 27
 Fill in this information to identify your case:
     Debtor 1              Maria                Andrea                 Huerta
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                    An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:   DISTRICT OF MARYLAND
                                                                                                                 chapter 13 income as of the following date:
     Case number           16-20336
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status      ;      Employed                                    ;      Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Teacher                                            Contractor
      Include part-time, seasonal,
      or self-employed work.            Employer's name        NCRC                                               Zarko Renovation

      Occupation may include            Employer's address     3209 Highland Place                                15804 Lautrec Court
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Washington                   DC       20008        Gaithersburg            MD      20878
                                                               City                         State    Zip Code     City                    State   Zip Code

                                        How long employed there?        19 years                                          22 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $3,855.00                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $3,855.00                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
                                              Case 16-20336                         Doc 13                Filed 08/23/16            Page 20 of 27
Debtor 1 Maria                                 Andrea                              Huerta                                     Case number (if known)    16-20336
            First Name                         Middle Name                         Last Name
                                                                                                                     For Debtor 1         For Debtor 2 or
                                                                                                                                          non-filing spouse
     Copy line 4 here .................................................................................   Î 4.           $3,855.00                 $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                       5a.           $750.10                 $0.00
     5b. Mandatory contributions for retirement plans                                                        5b.             $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                        5c.           $385.50                 $0.00
     5d. Required repayments of retirement fund loans                                                        5d.             $0.00                 $0.00
     5e. Insurance                                                                                           5e.            $13.88                 $0.00
     5f. Domestic support obligations                                                                        5f.             $0.00                 $0.00
     5g. Union dues                                                                                          5g.             $0.00                 $0.00
     5h. Other deductions.
          Specify:                                                                                           5h. +           $0.00                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                   6.          $1,149.48                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.           7.          $2,705.52                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                8a.             $0.00            $3,798.22
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                              8b.             $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                         8c.           $800.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                           8d.             $0.00                 $0.00
     8e. Social Security                                                                                     8e.             $0.00                 $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                            8f.             $0.00                 $0.00
     8g. Pension or retirement income                                                                        8g.             $0.00                 $0.00
     8h. Other monthly income.
         Specify: Social Security/Gov. Assist.                                                               8h. +           $0.00                 $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                  9.            $800.00            $3,798.22

10. Calculate monthly income. Add line 7 + line 9.                                                           10.         $3,505.52    +       $3,798.22       =       $7,303.74
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                          11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                          12.            $7,303.74
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                Combined
                                                                                                                                                                  monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Debtor expects an increase in employment income to $2,600 approximate gross (semi-monthly)
    ;   Yes. Explain: income in September, 2016.




Official Form 106I                                                                  Schedule I: Your Income                                                                page 2
                               Case 16-20336   Doc 13        Filed 08/23/16   Page 21 of 27
Debtor 1 Maria                  Andrea         Huerta                     Case number (if known)   16-20336
          First Name            Middle Name    Last Name

8a. Attached Statement (Non-Filing Spouse)

                                               Zarko Renovations

Gross Monthly Income:                                                                                         $3,798.22

Expense                                           Category                               Amount

Total Monthly Expenses                                                                                           $0.00

Net Monthly Income:                                                                                           $3,798.22




Official Form 106I                             Schedule I: Your Income                                           page 3
                                     Case 16-20336               Doc 13         Filed 08/23/16            Page 22 of 27
 Fill in this information to identify your case:
                                                                                                        Check if this is:
     Debtor 1              Maria                  Andrea                 Huerta                             An amended filing
                           First Name             Middle Name            Last Name                          A supplement showing postpetition
                                                                                                            chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                          following date:

     United States Bankruptcy Court for the:    DISTRICT OF MARYLAND                                          MM / DD / YYYY
     Case number           16-20336
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

      ;     No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                                                                      Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and          ;      Yes. Fill out this information
                                               for each dependent.................... Debtor 1 or Debtor 2           age              live with you?
      Debtor 2.                                                                                                                           No
                                                                                  Daughter                           18
      Do not state the dependents'
                                                                                                                                      ;   Yes
                                                                                                                                          No
      names.                                                                      Daughter                           15
                                                                                                                                      ;   Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                  ;     No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                     Your expenses

4.    The rental or home ownership expenses for your residence.                                                     4.                    $2,650.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                         4a.

      4b. Property, homeowner's, or renter's insurance                                                              4b.

      4c. Home maintenance, repair, and upkeep expenses                                                             4c.                    $150.00
      4d. Homeowner's association or condominium dues                                                               4d.                     $55.00




 Official Form 106J                                             Schedule J: Your Expenses                                                       page 1
                                     Case 16-20336           Doc 13       Filed 08/23/16    Page 23 of 27
Debtor 1 Maria                       Andrea                 Huerta                      Case number (if known)   16-20336
            First Name               Middle Name            Last Name

                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                     $100.00
     6b. Water, sewer, garbage collection                                                            6b.                      $65.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                     $255.00
         cable services
     6d. Other. Specify:       Gas                                                                   6d.                      $60.00
7.   Food and housekeeping supplies                                                                  7.                     $1,100.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                        $0.00
10. Personal care products and services                                                              10.                     $100.00
11. Medical and dental expenses                                                                      11.                     $100.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                     $500.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                     $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.                      $50.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.                      $0.00
     15b.    Health insurance                                                                        15b.                     $76.00
     15c.    Vehicle insurance                                                                       15c.                    $425.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1    Car Payment                                               17a.                    $320.00
     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.



 Official Form 106J                                         Schedule J: Your Expenses                                           page 2
                                  Case 16-20336              Doc 13         Filed 08/23/16         Page 24 of 27
Debtor 1 Maria                        Andrea                Huerta                             Case number (if known)   16-20336
           First Name                 Middle Name           Last Name

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $6,106.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $6,106.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $7,303.74
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $6,106.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                  $1,197.74

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

    ;      No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
                                          Case 16-20336                       Doc 13            Filed 08/23/16                   Page 25 of 27
 Fill in this information to identify your case:
 Debtor 1               Maria                        Andrea                      Huerta
                        First Name                   Middle Name                 Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                 Last Name


 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number            16-20336                                                                                                                  Check if this is an
 (if known)
                                                                                                                                                  amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                             Your assets
                                                                                                                                                             Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B...................................................................................................         $649,155.00


     1b. Copy line 62, Total personal property, from Schedule A/B........................................................................................              $138,823.17


     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................         $787,978.17


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.....                                           $493,776.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.....................................                                       $0.00


     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................. +                                         $98.00



                                                                                                                             Your total liabilities                    $493,874.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
     Copy your combined monthly income from line 12 of Schedule I......................................................................................                   $7,303.74

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J................................................................................................               $6,106.00




Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                                                            page 1
                                   Case 16-20336               Doc 13        Filed 08/23/16           Page 26 of 27
Debtor 1      Maria                 Andrea                Huerta                           Case number (if known)     16-20336
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     ;     Yes


7.   What kind of debt do you have?

     ;     Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $8,194.55


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                 $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                         $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                               $0.00

     9d. Student loans. (Copy line 6f.)                                                                                $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as                       $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                  $0.00

     9g. Total.    Add lines 9a through 9f.                                                                            $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
                                  Case 16-20336           Doc 13         Filed 08/23/16         Page 27 of 27
 Fill in this information to identify your case:
 Debtor 1           Maria               Andrea               Huerta
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number        16-20336                                                                                 Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

    ;     No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Maria Andrea Huerta                              X
        Maria Andrea Huerta, Debtor 1                          Signature of Debtor 2

        Date 08/23/2016                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
